     Case 3:00-cr-00227-SRU            Document 1693       Filed 08/06/14      Page 1 of 16




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

HECTOR GONZALEZ,
     Petitioner,
                                                             No. 3:09-cv-1790
       v.

UNITED STATES OF AMERICA,
     Respondent.

     RULING ON MOTION TO VACATE, SET ASIDE OR CORRECT SENTENCE

       Hector Gonzalez is currently confined at Federal Correctional Institution Ft. Dix in New

Jersey. He brings this action pro se, seeking a writ of habeas corpus, pursuant to 28 U.S.C. §

2255. On June 18, 2003, Gonzalez entered a guilty plea to one count of a superseding indictment

that charged him with conspiracy to distribute 1,000 grams or more of heroin in violation of 21

U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A). In his petition, Gonzalez principally argues that his

counsel was ineffective at various stages of his case. For the reasons that follow, Gonzalez’s

petition is granted in part and denied in part.



I.     Background

       Gonzalez’s conviction stems from his involvement in a large drug trafficking operation in

and around the City of Bridgeport, Connecticut. On June 20, 2001, a federal grand jury returned

the third in a series of superseding indictments (“Connecticut Indictment”) that charged Gonzalez

and twenty-six other defendants with offenses related to that criminal enterprise. United States v.

Estrada, No. 3:00-cr-227 (SRU) (D. Conn. June 20, 2001) (doc. 473). Counts twelve and

thirteen charged Gonzalez with conspiracy to distribute 1,000 grams or more of heroin in

violation of 21 U.S.C. §§ 846, 841(a)(1) and 841 (b)(1)(A), and unlawfully conspiring to possess
     Case 3:00-cr-00227-SRU          Document 1693         Filed 08/06/14      Page 2 of 16




with intent to distribute 50 grams or more of cocaine base in violation of 21 U.S.C. §§ 846,

841(a)(1) and 841(b)(1)(A). Id.

       Prior to the Connecticut Indictment, on June 17, 1997, a grand jury in the Eastern District

of New York charged Gonzalez and two co-defendants in a two-count indictment (“New York

Indictment”) with conspiracy to possess with intent to distribute cocaine and attempting to

possess with intent to distribute cocaine. United States v. Gonzalez, No. 1:97-cr-565 (DGT)

(doc. 12). Gonzalez pleaded guilty to both counts of the New York Indictment and was

sentenced to a term of 87 months’ imprisonment. Change of Plea Hr’g, United States v.

Gonzalez, No. 1:97-cr-565 (DGT) (E.D.N.Y. Nov. 13, 1997) (doc. 40); Judgment, United States

v. Gonzalez, No. 1:97-cr-565 (DGT) (E.D.N.Y. Apr. 20, 1998) (doc. 46).

       Based on his guilty plea in New York, Gonzalez filed a motion to dismiss the Connecticut

Indictment on double jeopardy grounds (Estrada, docs. 806, 807). On February 22, 2002, I

denied that motion. United States v. Estrada, 188 F. Supp. 2d 207 (D. Conn. 2002), aff’d, 320

F.3d 173 (2d Cir. 2003).

       On June 18, 2003, Gonzalez pleaded guilty to Count Twelve of the Connecticut

Indictment (Estrada, doc. 1224). By the time Gonzalez made that decision, his counsel had

become increasingly concerned that due to the large quantities of narcotics alleged in the

indictment, the number of reputed co-conspirators that had come forward offering to cooperate

with the government, and the abundance of evidence that the government had available that his

client could face life imprisonment. McCarthy Decl. ¶ 7. With that in mind, counsel advised

Gonzalez that he should consider accepting a plea agreement and pleading guilty. Id. ¶¶ 7-10.

       During the course of the plea negotiations, Gonzalez’s counsel secured significant


                                                -2-
      Case 3:00-cr-00227-SRU           Document 1693          Filed 08/06/14      Page 3 of 16




concessions from the government. His counsel successfully sought the dismissal of Count

Thirteen and an agreement that whatever sentence Gonzalez received in the District of

Connecticut, he would receive credit for the 87-month sentence imposed in the Eastern District

of New York. McCarthy Decl. ¶¶ 9-11. Gonzalez’s counsel was unable to secure a stipulation

from the government for a narcotics amount that reflected less than the highest possible base

offense level of 38, U.S.S.G. § 2D1.1(c)(1) (2002). Id. ¶ 12.

        The plea agreement provided, “[t]he defendant expressly understands that the Sentencing

Guideline determinations will be made by the Court, based upon input from the defendant, the

Government, and the United States Probation Officer who prepares the presentence investigation

report.” Resp’t’s Ex., at 2 (Gonzalez, doc. 24) (Plea Agreement). During Gonzalez’s plea

proceeding on June 18, 2003, I advised him that, “you’re going to be giving up your right to have

a jury decide questions that pertain to your punishment, including the quantity of drugs involved.

. . . I’ll be deciding rather than the jury . . . .” Change of Plea Tr. 13:4-14:6 (doc. 1346). I

emphasized that one of the primary considerations in my calculation of the guideline range would

be “the seriousness of the offense, and in this case that would depend in large part on the quantity

of narcotics associated with your involvement.” Id. 27:17-27:24. I also confirmed that Gonzalez

and his counsel understood that any prediction that counsel made regarding Gonzalez’s sentence

under the guidelines did not bind me. Id. 28:14-28:21. Gonzalez then pleaded guilty to

conspiring to possess with intent to distribute a thousand grams or more of heroin. Id. 38:1-38:3.

        On December 3, 2003, I sentenced Gonzalez to 396 months’ imprisonment which,

consistent with the plea agreement, was to run concurrently with the sentence imposed by the

Eastern District of New York (Estrada, doc. 1276). In reaching that sentence, I adopted the


                                                  -3-
     Case 3:00-cr-00227-SRU          Document 1693           Filed 08/06/14   Page 4 of 16




factual statements set forth in the presentence report. Sentencing Tr. 26:16-27:1 (Estrada, doc.

1289). Based on those facts, my calculation of Gonzalez’s offense level differed only slightly

from the presentence report’s calculation. Id. 63:23-64:6.

       At the sentencing hearing, Gonzalez’s counsel argued that his client was entitled to a base

offense level of 32. Id. 55:16-57:23. Based on what I determined was overwhelming evidence

that during Gonzalez’s involvement from 1996 through May 1998, the criminal network had

distributed more than 30 kilograms of heroin, I ruled that the appropriate base offense level was

38. Id. 57:24-58:18. Over counsel’s objections, I imposed a firearm enhancement under

U.S.S.G. § 2D1.1(b)(1) and a four-level enhancement under U.S.S.G. § 3B1.1(a) for Gonzalez’s

role in the offense. Id. 59:22-60:10, 63:8-63:19. Despite Gonzalez’s failure to acknowledge his

1988 conviction in Connecticut during the presentence investigation, I did not accept the

Probation Office’s recommendation to impose an enhancement for obstruction of justice. Id.

42:3-42:21. In light of Gonzalez’s failure to acknowledge that prior conviction, however, I did

not award Gonzalez the full three point deduction for acceptance of responsibility under U.S.S.G.

§ 3E1.1. Id. 52:11-53:4. As a result of those findings, Gonzalez had a total offense level of 42.

Id. 63:23-64:6. With a criminal history category of II, Gonzalez’s guidelines sentencing range

was 360-months’ to life imprisonment. Id. 64:7-64:9; U.S.S.G. Sentencing Table (2002).

       Gonzalez appealed his 396-month sentence, but before the parties could brief the direct

appeal, the government moved to remand in light of the U.S. Supreme Court’s decision in United

States v. Booker, 543 U.S. 220 (2005), and the Second Circuit’s decision in United States v.

Crosby, 397 F.3d 103 (2d Cir. 2005). On March 13, 2006, I held a resentencing hearing at which

I imposed substantially the same sentence on Gonzalez, except that I reduced the sentence from


                                                -4-
      Case 3:00-cr-00227-SRU           Document 1693          Filed 08/06/14       Page 5 of 16




396 months to 309 months’ imprisonment. Resentencing Tr. 26:9-27:25 (Estrada, doc. 1481).

Due to the Bureau of Prisons’ failure to credit Gonzalez for the 87 months he had served for the

sentence imposed in the Eastern District of New York, I adjusted his sentence to ensure that he

received a sentence consistent with my ruling and the parties’ plea agreement. Judgment (D.

Conn. Mar. 13, 2006) (Estrada, doc. 1464); Resentencing Tr. 25:23-26:8.

        Gonzalez appealed, and the Second Circuit affirmed the sentence in a summary order on

April 10, 2008. United States v. Gonzalez, 272 F. App’x 134 (2d Cir. 2008), cert. denied,

Gonzalez v. United States, No. 08-6611, 555 U.S. 1008 (2008).

        On November 4, 2009, Gonzalez filed this petition seeking to vacate his conviction,

primarily raising ineffective assistance of counsel claims. Among his ineffective assistance

claims, Gonzalez alleges that, in connection with the resentencing, his counsel failed to raise

evidence of Gonzalez’s post-sentencing rehabilitation efforts. Pet.’r’s Mem. in Supp. of Mot. 32-

33.



II.     Standard of Review

        In order to support a claim for relief under 28 U.S.C. § 2255, a petitioner must establish

that his “sentence was imposed in violation of the Constitution or Laws of the United States.” 28

U.S.C. § 2255. “As a general rule, ‘relief is available under § 2255 only for a constitutional

error, a lack of jurisdiction in the sentencing court, or an error of law that constitutes a

fundamental defect which inherently results in a complete miscarriage of justice.’” United States

v. Napoli, 32 F.3d 31, 35 (2d Cir. 1994) (quoting Hardy v. United States, 878 F.2d 94, 97 (2d

Cir. 1989)). The standard is a high one, and constitutional mistakes will not be fixed through a


                                                  -5-
       Case 3:00-cr-00227-SRU           Document 1693          Filed 08/06/14      Page 6 of 16




writ of habeas corpus unless they have had a “substantial and injurious effect” that results in

“actual prejudice.” Brecht v. Abrahamson, 507 U.S. 619, 623 (1993).



III.    Discussion

        The Sixth Amendment to the Constitution affords a right to effective assistance of

counsel in criminal cases.1 Strickland v. Washington, 466 U.S. 668, 684 (1984). In order to

prevail on an ineffective-assistance-of-counsel claim, a defendant must show: (1) that his

counsel’s performance “fell below an objective standard of reasonableness,” and (2) “that the

deficient performance prejudiced the defense. This requires showing that counsel’s errors were

so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.” Id. at 687-

88; see also United States v. Jones, 455 F.3d 134, 151 (2d Cir. 2006). In addressing the

adequacy of representation, courts “must indulge a strong presumption that counsel’s conduct

falls within a wide range of reasonable professional assistance.” Strickland, 466 U.S. at 689.

        Gonzalez advances four grounds for relief, including that his trial counsel failed to raise

evidence of post-sentencing rehabilitation during Gonzalez’s resentencing hearing. This is the

only ground which merits reconsideration of Gonzalez’s sentence. None of Gonzalez’s other

grounds for relief overcomes the high bar established in Strickland.




        1
         Gonzalez is not barred from asserting his ineffective assistance of counsel claim even
though his lawyer failed to raise it on appeal. Although it is a general rule that a claim may not
be asserted in a habeas petition unless it was raised on direct review, Reed v. Farley, 512 U.S.
339, 354 (1994), the procedural default rule does not apply to claims of ineffective assistance of
counsel. Massaro v. United States, 538 U.S. 500, 505-06 (2003).


                                                   -6-
     Case 3:00-cr-00227-SRU            Document 1693         Filed 08/06/14      Page 7 of 16




       A.      Ineffective Assistance of Counsel at Sentencing

       Gonzalez argues that I improperly determined that his base offense level was 38 and that

his counsel provided ineffective assistance of counsel at sentencing by failing to advocate

strenuously that his base offense level should have been 32.2 This claim is principally a dispute

regarding the appropriate offense level under the U.S. Sentencing Guidelines (“Guidelines”), not

a constitutional claim. Gonzalez fully litigated his Guidelines dispute on direct appeal, and the

dispute was decided on the merits. Because section 2255 requires a showing of constitutional

error, Gonzalez has failed to identify such error, and his claim of ineffective assistance at

sentencing fails.

       It is well established that a federal prisoner may not use section 2255 to relitigate

questions that were already resolved during a direct appeal. United States v. Sanin, 252 F.3d 79,

83 (2d Cir. 2001); Riascos-Prado v. United States, 66 F.3d 30, 33 (2d Cir. 1995). On direct

appeal to the Second Circuit, Gonzalez argued that the sentence I imposed following the Crosby

remand violated the terms of his plea agreement concerning drug quantity. In his petition,

Gonzalez argues that because he pleaded guilty to a charge of conspiracy to distribute 1,000

grams or more of heroin, I should have calculated his base offense level based on a narcotics

quantity of no more than 2.99 kilograms of heroin. That amount would have placed Gonzalez at

a base offense level of 32. U.S.S.G. § 2D1.1(c)(4). The statutory sentencing range for an

individual who pleads guilty to the crime of conspiracy to distribute 1,000 grams or more of



       2
          It should be noted that Gonzalez’s counsel argued strenuously for a base offense level of
32 during Gonzalez’s original sentencing. Sentencing Tr. 55:16-57:23 (D. Conn. Dec. 3, 2003)
(Estrada, doc. 1289). At his resentencing, Gonzalez’s counsel raised the issue of base offense
level, as well. Resentencing Tr. 18:5-21:21 (D. Conn. Mar. 13, 2006) (Estrada, doc. 1481).

                                                 -7-
     Case 3:00-cr-00227-SRU            Document 1693         Filed 08/06/14      Page 8 of 16




heroin is 10-years’ to life imprisonment. 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(A).

       Based on overwhelming evidence that Gonzalez was a substantial figure in a conspiracy

that distributed more than 30 kilograms of heroin, I determined that his base offense level was

38. See United States v. Vaughn, 430 F.3d 518, 525 (2d Cir. 2005) (holding that even after

Booker, district courts have the authority to determine facts at sentencing by a preponderance of

the evidence), cert. denied, No. 05-9499, 547 U.S. 1060 (2006). At Gonzalez’s sentencing

hearing, and after consideration of other provisions in the Guidelines, I sentenced Gonzalez to

309 months’ imprisonment, to run consecutively with his sentence from the Eastern District of

New York. That sentence was below the statutory maximum Gonzalez could have received as a

result of his guilty plea, and it fell within the Guidelines range for his offense and criminal

history levels. As such, the sentence was consistent with Gonzalez’s plea agreement, Booker,

and the Sixth Amendment right to trial by jury.

       At his change of plea hearing, I explained multiple times to Gonzalez that the government

would not stipulate to a quantity other than the statutory threshold and that I would make a

finding of fact on quantity based on the evidence available at the time of sentencing. Gonzalez’s

plea agreement was clear that his offense was punishable by not less than ten years and up to

lifetime imprisonment. Resp’t’s Ex., at 2. The agreement also provided that Gonzalez

“expressly understands that the Sentencing Guideline determinations will be made by the Court,

based upon input from the defendant, the Government, and the United States Probation Officer

who prepares the presentence investigation report,” and that Gonzalez “further understands that

he has no right to withdraw his guilty plea if his sentence or the Guideline application is other

than he anticipated.” Id. Even so, Gonzalez’s counsel at sentencing vigorously argued each


                                                  -8-
     Case 3:00-cr-00227-SRU            Document 1693        Filed 08/06/14      Page 9 of 16




portion of the Guidelines calculation, Sentencing Tr. 27:15-64:23, and his counsel at

resentencing also challenged the calculation and requested that the issue be preserved for appeal.

Resentencing Tr. 20:3-21:21; see also Def.’s Sentencing Mem. (Estrada, doc. 1263); Def.’s

Sentencing Mem. (Estrada, doc. 1418); Def.’s Supp. Mem. of Law (Estrada, doc. 1423). Those

objections do not support a claim for ineffective assistance with respect to challenging

Guidelines calculations at sentencing.

       Given the clarity of the law, the plea agreement, and his prior direct appeal to the Second

Circuit, Gonzalez has not identified a constitutional error in his sentencing. Instead, he seeks to

relitigate his already-decided appeal regarding his Guidelines range. As a result, the foregoing

ineffective assistance of counsel claim fails.

       B.      Ineffective Assistance of Counsel at the Pre-plea and Plea Stages

       Gonzalez argues that his counsel’s failure to make clear the full consequences of not

stipulating to a drug quantity in the plea agreement amounts to constitutionally ineffective

assistance of counsel. Specifically, Gonzalez claims he was unaware that by pleading guilty to

conspiracy to distribute 1,000 grams or more of heroin, I could make a factual finding on

quantity as high as 30 kilograms of heroin. The transcript from Gonzalez’s change of plea

proceeding and his trial counsel’s affidavit demonstrate that on numerous occasions Gonzalez

was told that the government refused to stipulate to drug quantity, that the issue of drug quantity

would be for the court to determine, and that he could potentially be found responsible for a

quantity associated with a base level offense of 38.

       A defendant’s Sixth Amendment right to counsel extends to plea negotiations, but

Gonzalez has not shown that his counsel’s performance was outside the “wide range of


                                                 -9-
     Case 3:00-cr-00227-SRU          Document 1693         Filed 08/06/14     Page 10 of 16




reasonable professional assistance” that the Constitution permits. Padilla v. Kentucky, 559 U.S.

356, 364-65 (2010); see also Missouri v. Frye, No. 10-444, 132 S. Ct. 1399, 1406-07 (2012);

Iowa v. Tovar, 541 U.S. 77, 81 (2004); Strickland, 466 U.S. at 684; Davis v. Greiner, 428 F.3d

81, 87 (2d Cir. 2005). Moreover, even assuming Gonzalez’s counsel’s conduct fell short of what

the Constitution requires, Gonzalez was not prejudiced.

       In an affidavit, Gonzalez’s counsel stated, “during negotiations, I repeatedly sought a

stipulation regarding the offense conduct that would specify a particular narcotics quantity.”

McCarthy Decl. ¶ 9. In a letter dated March 2, 2003, Gonzalez’s counsel wrote to the

government expressing his client’s concern over reaching a stipulation to the offense conduct.

Gonzalez’s counsel wrote, “[m]y client is very much preoccupied with the Apprendi decision, so

perhaps a reasonable offense conduct stipulation could take these issues out of play, to the extent

they apply.” That exchange suggests Gonzalez and his counsel had discussed the significance of

a stipulation prior to entering into the plea agreement. Indeed, Gonzalez’s preoccupation with

the issue reveals a defendant aware of what was at stake in the negotiations. Furthermore,

considering that Gonzalez was involved in one of the largest and most notorious drug

conspiracies in Bridgeport’s history, it is unlikely that counsel or Gonzalez himself would have

believed his sentencing exposure was limited to the base level offense of 32, the lowest level

possible for someone who pleads guilty to conspiracy to distribute 1000 grams or more of heroin.

       To the extent Gonzalez ever had the impression that drug quantity was not something I

could consider in calculating his Guidelines range, at the change of plea hearing, I cautioned:

“should you plead guilty today, you’re going to be giving up your right to have a jury decide

questions that pertain to your punishment, including the quantity of the drugs involved.” Change


                                               -10-
     Case 3:00-cr-00227-SRU          Document 1693         Filed 08/06/14     Page 11 of 16




of Plea Tr. 13:4-14:6 (June 18, 2003) (Estrada, doc. 1346). I told Gonzalez, “I have no idea of

how you’re going to be sentenced in this case sitting here today and neither does your lawyer or

the prosecutor, and so that’s going to depend upon a lot of factors and information that come to

light. . . .” Id. 20:1-20:5. Gonzalez confirmed that he understood those warnings and the terms

of the plea agreement, and that by pleading guilty he faced a maximum sentence of life in prison.

I went on to explain to Gonzalez how the Guidelines operate, underscoring that the two most

important factors were the seriousness of the offense and past criminal history and that in his

case the former “would depend in large part on the quantity of narcotics associated with [his]

involvement.” Id. 27:17-27:24. Gonzalez and his counsel indicated that they had discussed how

the Guidelines might apply and their understandings regarding any predictions counsel might

have made about sentencing exposure were not binding upon the court. With that, Gonzalez

listened to the elements of the charged offense and then pleaded guilty to conspiracy to possess

with intent to distribute 1,000 grams or more of heroin. Id. 37:21-38:3.

       Gonzalez’s demonstrated comprehension of the issues at the change of plea hearing

convinces me first, that counsel provided competent representation and second, that even if

counsel had improperly advised Gonzalez about the consequences of a plea, no prejudice

resulted. For those reasons, Gonzalez’s ineffective assistance of counsel claim regarding pre-

plea and plea issues lacks merit.

       C.      Ineffective Assistance of Counsel at the Resentencing Stage

       Gonzalez advances several grounds for ineffective assistance of counsel relating to his

Crosby resentencing hearing, including that his counsel failed to advocate for concurrent

sentences and failed to provide evidence of post-conviction rehabilitation.


                                               -11-
     Case 3:00-cr-00227-SRU          Document 1693         Filed 08/06/14     Page 12 of 16




               1. Concurrent Sentences

       Gonzalez argues that his counsel’s failure to seek a sentence that would run concurrently

with the sentence imposed in the Eastern District of New York rendered representation at

resentencing constitutionally ineffective. This argument is unavailing.

       On remand from the Second Circuit following Booker, I held a resentencing hearing at

which I imposed substantially the same sentence as I did at the first sentencing. Nevertheless,

based on the Bureau of Prisons’ failure to credit Gonzalez for the 87-month sentence imposed in

the Eastern District of New York, as intended, I restructured Gonzalez’s sentence to ensure that

he would be appropriately credited for time served under the Eastern District of New York

sentence. I reduced his sentence by 87 months and ordered that it run consecutively with the

sentence in the Eastern District of New York. Gonzalez’s counsel asked me to clarify if my

sentence had the same substantive effect as it would have if Gonzalez had been serving both

terms concurrently. Resentencing Tr. 10:8-11:8, 12:3-12:11. I explained that I reduced

Gonzalez’s sentence by 87 months to ensure that he would not suffer for the Bureau of Prisons’

failure to accurately credit his sentences between the Eastern District of New York and the

District of Connecticut. Id. 12:12-13:7, 13:24-14:17, 25:23-26:8. Accordingly, counsel’s

assistance was not constitutionally ineffective on the issue of concurrent sentences.

               2. Post-Conviction Rehabilitation

       Between Gonzalez’s original sentencing and his resentencing hearing, the U.S. Supreme

Court decided Booker, which held unconstitutional section 3742’s bar on the consideration of

post-conviction rehabilitative efforts in (re)sentencing. 543 U.S. at 242, 259; Pepper v. United

States, No. 09-6822, 131 S. Ct. 1229, 1236 (2011); United States v. Butler, 501 F. App’x 8, 10


                                               -12-
     Case 3:00-cr-00227-SRU          Document 1693        Filed 08/06/14      Page 13 of 16




(2d Cir. 2012). Thereafter, the government moved the Second Circuit to remand Gonzalez’s case

for resentencing pursuant to Crosby. 397 F.3d at 120. The Second Circuit granted the

government’s motion and remanded to the district court for resentencing. Order to Remand

Pursuant to Crosby, Gonzalez v. United States, No. 03-1776-cr (2d Cir. Aug. 16, 2005).

       Gonzalez argues that his counsel’s failure to introduce evidence of Gonzalez’s post-

conviction rehabilitative efforts and to argue vigorously for a downward departure based on that

rehabilitation rendered counsel’s assistance constitutionally ineffective. Pet.’r’s Mem. in Supp.

of Mot. 32-33. At the time Gonzalez was initially sentenced, prevailing law restricted district

courts from considering such post-conviction rehabilitation. 18 U.S.C. § 3742(g)(2), abrogated

by United States v. Booker, 543 U.S. 220 (2005); see also Pepper v. United States, No. 09-6822,

131 S. Ct. 1229, 1236 (2011) (reaffirming that Booker abrogated section 3742’s restrictions on

judicial discretion and rendered the U.S. Sentencing Guidelines advisory). After Booker,

Gonzalez’s counsel would have been able to raise the issue of post-conviction rehabilitation as a

basis for a downward departure. See Teague v. Lane, 489 U.S. 288, 300-01 (1989) (applying

new case law “retroactively” to pending criminal appeals, so long as final judgment has not been

entered).

       During the resentencing hearing, Gonzalez’s counsel did not introduce evidence of

Gonzalez’s participation and performance in rehabilitative programming. When I asked why

counsel had not brought evidence of Gonzalez’s post-conviction rehabilitative efforts,

Gonzalez’s counsel replied, “I didn't make copies because I don’t think that necessarily the things

that he’s done since he’s been incarcerated are normally taken into consideration on a

resentencing.” Resentencing Tr. 23:2-23:5. As a result, I imposed substantially the same


                                               -13-
     Case 3:00-cr-00227-SRU          Document 1693         Filed 08/06/14      Page 14 of 16




sentence on Gonzalez, without consideration of his post-conviction rehabilitation.3 That

sentence was issued in error.

       Gonzalez’s counsel’s failure to raise the issue of post-conviction rehabilitation prejudiced

the outcome of Gonzalez’s resentencing, resulting in a longer sentence than the sentence required

under the Booker regime. Moreover, I held Gonzalez’s resentencing hearing for the express

purpose of evaluating his sentence in light of Booker. Although Gonzalez’s counsel may not

have predicted that a change of law would take place during the pendency of Gonzalez’s appeal,

counsel was on notice to review Booker to determine if it applied to Gonzalez’s case. Teague,

489 at 301.

       Gonzalez has made a showing that his trial counsel’s failure to raise the issue of

postsentencing rehabilitation at resentencing materially and negatively prejudiced the outcome of

his resentencing. He is entitled to a reconsideration of his sentence to determine if his post-

conviction rehabilitation merited a downward departure from the recommended Guidelines

range. United States v. Malone, 499 F. App’x 92, 94 (2d Cir. 2012).

       D.      Ineffective Assistance of Counsel on Direct Appeal

       Finally, Gonzalez argues that he did not receive effective assistance of counsel on direct

appeal because his counsel failed to argue that his trial counsel was constitutionally ineffective

and that the drug quantities attributed to Gonzalez at sentencing were outside the scope of the

facts Gonzalez admitted in his guilty plea.


       3
         In his amended petition, Gonzalez argues that his counsel should have argued for a
downward departure based on his diminished mental capacity, which he says stems from his
lifelong mental illness. Nothing in Gonzalez’s comportment during proceedings indicated a
history of mental illness, nor did any facts in his PSR. Thus, I have no reason to believe that
Gonzalez’s lawyer had a basis to make an argument about Gonzalez’s mental capacity.

                                                -14-
     Case 3:00-cr-00227-SRU           Document 1693         Filed 08/06/14      Page 15 of 16




       First, Gonzalez’s assertion that his appellate counsel failed to argue that the drug

quantities I attributed to Gonzalez were inconsistent with those he admitted to in his guilty plea is

contrary to fact. Gonzalez’s counsel briefed those issues on appeal, and the Second Circuit

concluded that “[t]he record demonstrates that the sentence imposed did not violate either the

terms of the plea agreement or the defendant’s reasonable expectations thereunder.” United

States v. Gonzalez, 272 F. App’x 134, 135 (2d Cir. 2008). As such, the argument is unavailing.

       Second, Gonzalez’s argument that his appellate counsel was constitutionally ineffective

for failing to argue that trial counsel was ineffective is without merit. For all the reasons

explained above, Gonzalez’s counsel during the plea and sentencing stages was constitutionally

adequate. As a result, Gonzalez’s appellate counsel’s decision not to argue that point on appeal

was also reasonable. Given counsel’s objectively reasonable conduct at the pre-plea, plea and

sentencing stages, it is highly improbable that the Court of Appeals would have been persuaded.

Furthermore, even if Gonzalez’s appellate counsel had raised the ineffective assistance of

counsel argument on appeal, it is not certain the Court would have decided it. The Second

Circuit has established a “baseline aversion to resolving ineffectiveness claims on direct review.”

United States v. Venturella, 391 F.3d 120, 135 (2d Cir. 2004); Massaro v. United States, 538

U.S. 500, 504 (2003) (“[I]n most cases a motion brought under § 2255 is preferable to direct

appeal for deciding claims of ineffective-assistance.”). Gonzalez’s appellate counsel’s decision

was both reasonable and did not prejudice the outcome of his case.

       E.      Request to Reserve Petition for Future Cases

       Gonzalez’s last argument is not a grounds for relief but rather a request that I leave the

case open so that he may raise additional claims later, in the event that future cases provide him


                                                 -15-
      Case 3:00-cr-00227-SRU         Document 1693       Filed 08/06/14     Page 16 of 16




new arguments. Gonzalez has not identified, nor have I found, any authority that allows me to do

so.



IV.     Conclusion

       For the foregoing reasons Gonzalez’s petition (doc. 1) is GRANTED IN PART AND

DENIED IN PART. A Certificate of Appealability will not issue on the issues denied in this

ruling because Gonzalez has failed to make a “substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). Gonzalez shall be resentenced.



       It is so ordered.

       The Clerk is directed to close the file.

       Dated at Bridgeport, Connecticut, this 6th day of August 2014.



                                                              /s/

                                                           Stefan R. Underhill

                                                           United States District Judge




                                                  -16-
